Case 6:21-cr-00212-JDC-KK Document 128 Filed 10/24/23 Page 1 of 1 PageID #: 515




                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

 UNITED STATES OF AMERICA               *    CRIMINAL NO. 6:21-CR-00212-03
                                        *
 VERSUS                                 *    JUDGE CAIN
                                        *
 DAVE’S GUNSHOP, LLC                    *    MAGISTRATE JUDGE KAY

                                      ORDER

       Upon consideration of the Motion to Dismiss filed by the United States,

       IT IS HEREBY ORDERED that Counts 4, 5, 6 and 7 of the pending indictment

 in above-captioned matter are hereby dismissed without prejudice, and defendant

 Dave’s Gunshop, LLC is thereby dismissed as a defendant in this matter.

       DONE AND SIGNED this 24th
                            _____ day of October 2023, at Lake Charles,

 Louisiana.

                                       __________________________________________
                                       JAMES D.CAIN, JR.
                                       United States District Judge
